                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN

Andrew Lyles,
                                                 Case No.: 2:19-cv-10673
     Plaintiff,                      District Judge: Laurie J. Michelson
                                   Magistrate Judge: Kimberly A. Altman
v.

Keith Papendick, M.D.,

     Defendant.

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 PLAINTIFF’S RESPONSE TO DEFENDANT PAPENDICK’S “SUGGESTION
OF BANKRUPTCY AND NOTICE OF AUTOMATIC STAY” REGARDING THE
     BANKRUPTCY OF TEHUM CARE SERVICES, INC. (ECF No. 87)




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                   STATEMENT OF QUESTIONS PRESENTED



1. Does the § 362(a) automatic bankruptcy stay apply to parties other than the debtor?

      Plaintiff Answers: NO

      Defendant Answers: YES


2. Do courts other than the bankruptcy court have the power to issue § 105(a) injunc-
tions extending the automatic stay to non-debtor related parties?

      Plaintiff Answers: NO

      Defendant Answers: YES


3. Is continued prosecution of Plaintiff’s action against Defendant Papendick enjoined
by operation of § 362(a)(3) of the Bankruptcy Code?


      Plaintiff Answers: NO

      Defendant Answers: YES




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          CONTROLLING OR MOST APPROPRIATE AUTHORITIES


1. Lynch v. Johns-Manville Sales Corp., 710 F.2d 1194 (6th Cir. 1983)

2. Edge Petroleum Operating Co. v. GPR Holdings, L.L.C. (In re TXNB Internal Case),
483 F.3d 292 (5th Cir. 2007)

3. Patton v. Bearden, 8 F.3d 343 (6th Cir. 1993)

4. In re St. Vincents Catholic Med. Ctrs., 398 B.R. 517 (Bankr. S.D.N.Y. 2008)




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                          PRELIMINARY STATEMENT


      There is one Defendant in this case: Dr. Keith Papendick. Dr. Papendick is a

former employee of non-party Quality Correctional Care of Michigan, P.C. (See

ECF No. 67-3, PageID.777). To date, neither Defendant Papendick nor Quality

Correctional Care of Michigan, P.C. (hereafter “Quality”) have filed for

bankruptcy. Quality remains an active entity, providing medical services under

contract with CHS TX, Inc., a corporate successor of Corizon Health, at two

county jails in Michigan (St. Clair and Calhoun). On February 22, 2023, Defendant

Papendick filed a Suggestion of Bankruptcy in this matter. (ECF No. 87). The

debtor in the referenced bankruptcy proceeding is not Defendant Papendick, but

rather a non-party, Tehum Care Services, Inc.

      Corizon Health, Inc. was the health care contractor for the Michigan

Department of Corrections at the time of the events at issue in this case. Corizon

hired Quality, and Quality hired Papendick, to perform services related to the

Corizon-MDOC contract. Corizon’s contract with the MDOC ended on September

28, 2021 and was not renewed. (2:19-cv-13382 ECF No. 66-2, PageID.1924). The

relationship between Papendick, Quality, Corizon, Tehum, and CHS TX stems

from a divisional merger transaction that Corizon entered into with itself in May of

2022. A recent order entered in another case in this District in which Dr. Papendick

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is a defendant, Jackson v. Corizon Health, Inc., 2:19-cv-13382, summarizes the

practical effect of this recent transaction:


     The divisional merger allocated the bulk of Corizon's assets to CHS TX.
     Specifically, CHS TX inherited all of Corizon's employees, all of
     Corizon's active contracts, and nearly all of Corizon's cash, equipment,
     real estate, and other assets. (Id. at PageID.3417-28). Both pre-division
     Corizon and CHS TX were owned by the same, sole-shareholder, and
     CHS TX also inherited Corizon's CEO and Chair, Sara Tirschwell.
     (Compare id. at PageID.3410, with ECF No 83-1, PageID.3371, and ECF
     No. 83-2, PageID.3391).


     Corizon retained all of its expired contracts and their corresponding
     liabilities. Corizon also held onto one million dollars in cash, the right to
     collect on its insurance policies, and the right to collect up to four million
     dollars under a "funding agreement" with an affiliate of Corizon Health,
     provided that Corizon met "certain conditions." (ECF No. 83-4,
     PageID.3429-30). All other assets and liabilities passed to CHS TX. (Id. at
     PageID.3417-18).


     After the divisional merger, YesCare, Inc., a corporation owned by CHS
     TX's CEO, acquired CHS TX, and CHS TX began informally doing
     business under its parent company's name. (ECF No. 83, PageID.3343;
     ECF No. 83-7; see, e.g., ECF No. 77-27 (explaining that CHS TX does
     business under the name "YesCare")). Corizon later changed its name to
     Tehum Care Services, Incorporated. (ECF No. 83-4, PageID.3587).


Jackson v. Corizon Health, Inc., 2022 U.S. Dist. LEXIS 198717 at *3-*4. (E.D.
Mich. 2022).



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Corizon’s Plan of Merger refers to CHS TX as the “NewCo,” and the entity that

became Tehum Care Services as the “RemainCo.” (2:19-cv-13382 ECF No. 83-4,

PageID.3408). Although the RemainCo has now filed for Chapter 11 protection,

the NewCo and its recently-incorporated parent, Yescare Corp., continue to operate

the former Corizon assets outside of bankruptcy. After leaving behind most of

Corizon’s liabilities in the RemainCo, the NewCo is apparently solvent. Recent

filings in a Missouri adversary proceeding reveal that the NewCo has over $173

million in assets, (Ex. A, pg. 29), and that those assets were encumbered by less

than $98 million in long-term secured debt. (Ex. B, pg. 7).

      The divisional merger transaction rendered the RemainCo deeply-insolvent.

Its liabilities to trade creditors, largely consisting of unpaid bills to hospital

systems for treatment of prisoners, exceed $31 million. (Ex. C). The RemainCo

was also saddled with over three dozen employment-law claims, (2:19-cv-13382

ECF No. 83-4, PageID.3552), and nearly five hundred personal-injury claims,

(2:19-cv-13382 ECF No. 83-4, PageID.3535-3551), including Corizon’s purported

indemnity obligation to Dr. Papendick in this case. (2:19-cv-13382 ECF No. 83-4,

PageID.3542).

      The RemainCo has no employees, no active business, and few assets. Its

liability insurance rights are likely to be illusory, at least with respect to the


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hundreds of personal-injury tort claims assigned to it. That is because the

RemainCo has not been allocated enough cash to meet the approximately $20-

million-per-policy-year (Ex. D, pg. 1) self-insured retentions under its applicable

insurance policies. The RemainCo’s insurer will not make any payment unless the

RemainCo pays the self-insured retention, regardless of its insolvency. The

RemainCo’s insurance contract is quite explicit on this point:

   Under no circumstances will we make any payment under this policy unless
   and until the First Named Insured has exhausted the Aggregate Self-Insured
   Retention by the payment of damages arising from covered medical
   incidents. If the First Named Insured is unable to pay any part of the
   Self-Insured Retention due to bankruptcy, insolvency, or other financial
   difficulty, then this policy will not be required to “drop down” to make
   payments of policy limits and/or defense costs, and no payment of any
   kind will be available to the First Named Insured or any Insured under this
   policy.

(Ex. D pg. 20) (emphasis added).


      The Plaintiff and Defendants in Jackson v. Corizon Health, Inc., 2:19-cv-

13382, are represented by the same counsel that represent the parties in the present

matter. In the summer of 2022, Plaintiff’s counsel became aware that substantially

all of the Corizon Health assets had been transferred to CHS TX, and that Tehum

Care Services would be incapable of fulfilling its purported indemnity obligations

to Defendant Papendick in this case and others. Plaintiff’s counsel then filed a

motion in the Jackson case under Rule 25(c), “for an Order Substituting Yescare

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Corp. And CHS TX, Inc. as Party Defendants in Place of Corizon Health, Inc., and

Requiring Yescare Corp. and CHS TX, Inc. to Assume Corizon Health, Inc.’s Duty

to Indemnify Defendant Papendick”1 (2:19-cv-13382 ECF No. 77). Inexplicably,

Dr. Papendick opposed the plaintiff’s motion to require the solvent successor

entity to indemnify him. (2:19-cv-13382 ECF No. 82, PageID.3316).

      Since Tehum Care Services will default on any indemnity obligation it owes

Dr. Papendick, Dr. Papendick is now functionally uninsured. But Tehum’s inability

to indemnify Dr. Papendick does not allow Dr. Papendick to receive a discharge of

his employment-related liability through the Tehum bankruptcy. In fact, such an

outcome is impossible: Tehum filed its voluntary Chapter 11 petition in the Fifth

Circuit, where non-debtor third-party releases are categorically prohibited. See

Nexpoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland Capital

Mgmt., L.P.), 48 F.4th 419, 435-437 (5th Cir. 2022). Dr. Papendick similarly cannot

benefit from the automatic stay under § 362(a) merely because his purported

indemnitor has filed for bankruptcy. The Fifth Circuit has held that even where "a

successful claim by [Plaintiff] against [a non-debtor defendant] would probably

result in a lawsuit by [the non-debtor defendant] against the debtors seeking

1 A similar motion was not filed in this case because the Monell claim against
  Corizon Health had been dismissed (ECF No. 6) and Dr. Papendick is the sole
  Defendant. Thus, in this matter, there was no corporate party to substitute under
  Rule 25(c).

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indemnification . . . the merits of that probable litigation are not [the

plaintiff's] problem . . . its claim is not directed against the debtors' property

and is not subject to a stay under § 362(a)." Edge Petroleum Operating Co. v.

GPR Holdings, L.L.C. (In re TXNB Internal Case), 483 F.3d 292, 302 (5th Cir.

2007) (emphasis added).

      In short, Dr. Papendick is not the debtor in the Tehum bankruptcy. He is, at

best, an unsecured creditor of Tehum, holding a contingent, unliquidated claim

against the debtor for indemnification. He could have cooperated with Plaintiff’s

counsel’s efforts to compel Corizon’s solvent successors to indemnify him, but he

did not. Unless he files for bankruptcy himself, he has no right to benefit from any

of the debtor protections afforded under the Bankruptcy Code by virtue of Tehum

Care Services’ Chapter 11 filing.



                                    ARGUMENT

               I. § 362(a) Protects the Debtor, Not Third Parties

      It is the overwhelming consensus among the circuits, including both the

Sixth Circuit and the Fifth Circuit, where Tehum Care Services’ bankruptcy is

pending, that § 362(a) protects only “the debtor,” not the debtor’s third-party co-

defendants. See, e.g. Wedgeworth v. Fibreboard Corp., 706 F.2d 541, 544 (5th Cir.


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1983); Lynch v. Johns-Manville Sales Corp., 710 F.2d 1194, 1196 (6th Cir. 1983)

(holding that § 362(a) “facially stays proceedings ‘against the debtor’ and fails to

intimate, even tangentially, that the stay could be interpreted as including any

defendant other than the debtor . . . It is universally acknowledged that an

automatic stay of proceeding accorded by § 362 may not be invoked by entities

such as sureties, guarantors, co-obligors, or others with a similar legal or factual

nexus to the Chapter 11 debtor”); Williford v. Armstrong World Industries, 715 F.2d

124, 126 (4th Cir. 1983); Teachers Ins. & Annuity Asso v. Butler, 803 F.2d 61, 65

(2nd Cir. 1986); Austin v. Unarco Industries, Inc., 705 F.2d 1, 4 (1st Cir. 1983)

(“had Congress intended § 362(a) to apply to solvent co-defendants, it would have

said so”); Fortier v. Dona Anna Plaza Partners, 747 F.2d 1324, 1330 (10th Cir.

1984) (“[i]t would make no sense to extend the automatic stay protections to

solvent co-defendants. . . . Accordingly, we join the other circuit courts in

concluding that 11 U.S.C. § 362 stays litigation only against the debtor, and affords

no protection to solvent co-defendants.”).

      It is true that “some courts have held that the debtor’s stay may be extended

to non-bankrupt parties in ‘unusual circumstances.’” Patton v. Bearden, 8 F.3d 343,

349 (6th Cir. 1993). But the mere fact that a non-debtor defendant may be entitled

to indemnity from a bankrupt debtor does not constitute an “unusual circumstance”


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warranting extension of the automatic stay to the indemnitee. See Johnson v. Fifth

Third Bank, Inc., 476 B.R. 493, 502 (W.D. Ky. 2012) (collecting cases). Given the

widespread prevalence of indemnification agreements, if the existence of an

indemnification agreement alone constituted an “unusual circumstance” justifying

the extension of the automatic stay to a non-debtor defendant, “then the exception

would effectively become the rule.” Al-Shara v. Wal-Mart Stores, Inc., 2012 U.S.

Dist. LEXIS 47228 at *12 (E.D. Mich. 2012) (quoting Smith v. Blitz U.S.A., Inc.,

2012 U.S. Dist. LEXIS 47817 at *14 (D. Minn. 2012)). And “where the non-debtor

defendant's liability rests upon its own breach of duty, ‘unusual circumstances’ are

not present.” Johnson v. Fifth Third Bank, Inc., 476 B.R. 493, 502 (W.D. Ky.

2012); See also, Al-Shara v. Wal-Mart Stores, Inc., 2012 U.S. Dist. LEXIS 47228

at *12 (E.D. Mich. 2012).

      The fact that medical-malpractice (or deliberate-indifference) claims may be

brought against individual doctors and nurses who are former employees or

contractors of a bankrupt entity, and that those medical professionals may have

indemnity claims against the debtor, is far from an “unusual circumstance.” It is a

situation that occurs in virtually every hospital-system bankruptcy. This common

fact pattern does not warrant extension of the automatic stay to claims brought




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against individual medical-professional employees of the debtor for their own

wrongful acts. As one bankruptcy court faced with a similar situation put it:

    Covered Persons, be they physicians, nurses or other employees of the
    Debtors, are not themselves the Debtors -- they are third parties. Claims
    against Covered Persons for medical malpractice or otherwise, arising
    before or after the Debtors' Commencement Date, were not affected by the
    automatic stay under Bankruptcy Code Section 362(a) in the Debtors'
    Bankruptcy Cases. . . .

    Nothing in the Bankruptcy Code authorizes or permits a release or
    discharge of claims asserted against non-debtor third parties (see Section
    524(e)), or an injunction barring claims against third parties seeking to
    impose liability for the third parties' own derelictions.

In re St. Vincents Catholic Med. Ctrs., 398 B.R. 517, 520 (Bankr. S.D.N.Y. 2008).



  II. Extending the Automatic Stay to Enjoin Prosecution of Claims Against
  Non-Debtor Third Parties Due to ‘Unusual Circumstances’ is a Function of
 the Bankruptcy Court, not of the Courts Where Actions Against Non-Debtor
                         Third Parties are Pending


      In the rare cases where ‘unusual circumstances’ warrant extension of the

automatic stay to non-debtor third parties, “it should be noted that such extensions,

although referred to as extensions of the automatic stay, were in fact injunctions

issued by the bankruptcy court after hearing and the establishment of unusual

need to take this action to protect the administration of the bankruptcy

estate.” Patton v. Bearden, 8 F.3d 343, 349 (6th Cir. 1993). (emphasis added).



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Determining whether “unusual circumstances” exist to warrant extension of the

stay to non-debtor third-parties is thus a function of the bankruptcy court, not of

the courts where actions against non-debtor third parties are pending. See Wells

Fargo Nat’l Tax Free Fund v. Helicon Assocs., 2010 U.S. Dist. LEXIS 153660 at

*64 (E.D. Mich. 2010) (“The Court agrees that it does not have the power to

extend the automatic stay to the non-bankrupt codefendants, and that such power

resides with the bankruptcy court”). This is because “according to the Sixth

Circuit, the presence of unusual circumstances allows an extension of the stay only

through an injunction issued under § 105(a).” In re Johnson, 548 B.R. 770, 788

(Bankr. S.D. Ohio 2016).

      It is not even clear that Dr. Papendick has standing to request relief under §

105(a) of the Bankruptcy Code. Generally, only the debtor may seek an injunction

extending the automatic stay to non-debtors. See In re Tamarack Dev. Assocs.,

LLC, 611 B.R. 286, 299 (W.D. Mich. 2020); Smith v. Blitz U.S.A., Inc., 2012 U.S.

Dist. LEXIS 47817 at *11-*12 (D. Minn. 2012). But even assuming that a non-

debtor third party such as Dr. Papendick has standing to seek it, relief under §

105(a) of the Bankruptcy Code cannot be obtained merely by filing a suggestion of

bankruptcy in a pending case. Instead, a request for a § 105(a) injunction “must be

brought by adversary proceeding” in bankruptcy court. In re Cincom iOutsource,


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Inc., 398 B.R. 223, 227 (Bankr. S.D. Ohio 2008); See also, Smith, 2012 U.S. Dist.

LEXIS 47817 at *11-*13 (D. Minn. 2012). When litigating whether an extension

of the automatic stay to a non-debtor third-party is warranted, “[t]he burden of

showing "unusual circumstances" to invoke an automatic stay falls on the party

seeking the stay.” Zwick Partners, LP v. Quorum Health Corp., 456 F. Supp. 3d

949, 951 (M.D. Tenn. 2020).

      Even if Dr. Papendick had standing to seek this relief (he does not), and even

if a court that is not presiding over the bankruptcy case had the power to grant it,

Dr. Papendick has not borne his burden of demonstrating “unusual circumstances”

warranting a § 105(a) injunction extending the automatic stay to him. He has not

even filed a motion, let alone an adversary proceeding. He has put forth neither

evidence nor argument explaining his position. It is insufficient "for a party to

mention a possible argument in the most skeletal way, leaving the court to . . . put

flesh on its bones." Buetenmiller v. Macomb Cnty. Jail, 53 F.4th 939, 946 (6th Cir.

2022) (quoting McPherson v. Kelsey, 125 F.3d 989, 995-96 (6th Cir. 1997)). Issues

“adverted to in a perfunctory manner, unaccompanied by some effort at developed

argumentation” are considered forfeited. Id.




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  III. Plaintiff’s Suit Against Defendant Papendick is Not an “Act to Obtain
        Possession of Property of the Estate” for Purposes of § 362(a)(3)


      Dr. Papendick may argue that Plaintiffs’ cause of action against him falls

within the ambit of § 362(a)(3), which prohibits “any act to obtain possession of

property of the estate or of property from the estate or to exercise control over

property of the estate.” Although he has not developed this argument, Dr.

Papendick’s filing could be construed as a claim that 1) he has an enforceable right

to indemnification from the debtor for any liability incurred in this case, and 2)

therefore, by proceeding against Papendick, Plaintiff is really trying to obtain

property from the estate of Tehum Care Services.

       Both premises of this underdeveloped argument are flawed. First, it is not

clear that Dr. Papendick even holds a valid unsecured claim for indemnification

against the debtor. Dr. Papendick has not put forth evidence that he has any

contractual right to be indemnified; it may be that Corizon Health merely chose, as

a matter of corporate policy, to defend and indemnify former Quality employees

named in prisoner civil rights suits despite having no legal duty to do so. Second,

even if Dr. Papendick has a contractual indemnification right, his status as an

unsecured creditor of Tehum does not transform a claim against him into an action

to obtain property of the bankruptcy estate. See In re Kay Bee Kay Props., LLC,


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618 B.R. 486, 492-93 (Bankr. E.D. Mich. 2020); Straney v. GMC, 2006 U.S. Dist.

LEXIS 76940 at *12 (E.D. Mich. 2006); In re St. Vincents Catholic Med. Ctrs., 398

B.R. 517, 523 (Bankr. S.D.N.Y. 2008) ("[t]he fact that the Covered Person may

have a right of indemnification against the Debtors . . . does not convert the injured

person's medical malpractice claim against the Covered Person into a claim against

the Debtors or the MedMal Trusts for Bar Date purposes or any other purpose”).

Under the law of the Fifth Circuit, where the relevant bankruptcy is pending,

whatever rights to indemnification that Papendick may have “are not [Lyles]

problem . . . [Lyles’] claim is not directed against the debtors' property and is not

subject to a stay under § 362(a).” Edge Petroleum Operating Co. v. GPR Holdings,

L.L.C. (In re TXNB Internal Case), 483 F.3d 292, 302 (5th Cir. 2007).

      Finally, as a practical matter, Lyles’ claim against Papendick is not an

attempt to obtain assets from the Tehum bankruptcy estate. The unsecured

indemnification claims against Tehum held by Dr. Papendick and other former

Quality employees will be severely impaired. Tehum estimated the tort liabilities

for the nearly five hundred personal-injury claims it was assigned in the divisional

merger at over $88 million, (Ex. E, pg. 2), a figure which dwarfs both its available

assets and the $4-million policy limits of its professional-liability insurance

policies. (Ex. D, pg. 1). As discussed supra, Tehum’s woefully-inadequate


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insurance coverage will not even be accessible to Tehum’s creditors, because

Tehum lacks the funds to satisfy the $20-million self-insured retention. To make

matters worse, the indemnification claims of former Quality employees like Dr.

Papendick are not entitled to priority over the approximately $31 million in breach-

of-contract claims held by Tehum’s trade creditors. As Tehum’s largest unsecured

creditor, the University of Missouri, put it, Dr. Papendick “must stand among the

creditors of not only Corizon, LLC, but of Corizon Health’s other subsidiaries

(who combined liabilities to form “Corizon Health”) in seeking to recover from an

insolvent shell.” (Ex. A, pg. 20).

      Dr. Papendick’s indemnification claim against Tehum, if he has one, is worth

little or nothing. Any meaningful recovery that Lyles achieves in this action will

come not from Tehum, but from Dr. Papendick’s personal assets.



                                     CONCLUSION

      For all the foregoing reasons, the automatic stay resulting from the Tehum

Care Services bankruptcy does not apply to this action.

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